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                      UNITED STATES COURT OF APPEALS
                          FOR THE TENTH CIRCUIT

 DARLENE GRIFFITH,
                                                   Case No. 23-1135
         Plaintiff,

 v.

 EL PASO COUNTY, COLORADO,
 et al.,

         Defendants.



             UNOPPOSED MOTION FOR ENLARGEMENT OF TIME
                       TO FILE OPENING BRIEF


        Plaintiff-Appellant, Darlene Griffith, by and through undersigned counsel of

record, hereby moves this honorable Court for an extension of time to file her

Opening Brief, and states as follows in support:

        1.     Pursuant to this Court’s previous order, Plaintiff-Appellant’s Opening

Brief is due on or before July 21, 2023. [Dkt. # 11005856].

        2.     Counsel for Plaintiff-Appellant have been working diligently on the

Opening Brief but needs additional time to draft and finalize the brief. Plaintiff-

Appellant is requesting an additional thirty (30) days, up to and including August

21, 2023, to file her Opening Brief.

        3.     Good cause exists for this requested deadline extension.
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      4.      Plaintiff-Appellant has obtained new co-counsel (lawyers with the

MacArthur Justice Center) to represent her on appeal. New counsel require

additional time to review the record in this case and get up to speed on the facts.

Moreover, there have been logistical issues related to accessing Ms. Griffith (who

is currently housed in the Colorado Department of Corrections), which has delayed

new counsel entering their appearances in this matter. Allowing for additional time

for these new co-counsel to enter their appearances and appropriately represent

Plaintiff-Appellant, who filed this case initially as a pro se inmate and whom

undersigned counsel are representing after referral from the District Court’s Civil

Pro Bono Panel, is in the interests of justice.

      5.      Moreover, in addition to the usual press of business, and the time

spent drafting the response brief in this matter, counsel for Plaintiff have:

           a. engaged in significant work on the appeal in Pryor v. School District

              No. 1, 23-1000 (10th Cir.), including drafting the Response Brief,

              which is due on July 19, 2023;

           b. engaged in significant written discovery and motions practice in

              Fellows, et al. v. Williams, et al., 1:23-cv-000009-GPG-MEH;

           c. engaged in on-going negotiations regarding settlements in the cases of

              The Estate Of Tyler Kracht v. City Of Sterling, Colorado and Austin

              Molcyk, Civil Action No. 22-cv-01081-DDD-STV (D. Colo.), and
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                Elizabeth Gundlach v. Scion Health D/B/A Kindred Hospital Denver

                (EEOC No. 541-2023-01660);

             d. engaged in significant discovery work in Minter v. City and County of

                Denver, et al., 1:22-cv-01328-PAB-SP.

        6.      Further, in addition to the usual press of business, and the time spent

drafting the response brief in this matter, Andy McNulty has:

             a. engaged in significant work on the appeal in Arizona Attorneys for

                Criminal Justice v. Mayes, 22-16729 (9th Cir.);

             b. drafted and filed multiple lawsuits, including Lewis v. Mesa County,

                1:23-cv-01397 and Benson, et al. v. City and County of Denver, et al.,

                1:23-cv-01637.

        7.      Counsel for Plaintiff-Appellee, Andy McNulty, has conferred with

counsel for Defendants-Appellees, who does not oppose the relief requested

herein.

        8.      No party will be prejudiced by the relief requested herein.

        9.      Accordingly, Plaintiff-Appellant respectfully requests a thirty (30) day

extension of the deadline to file her Opening Brief, up to and including August 21,

2023.

        Respectfully submitted this 10th day of July 2023.
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                                               KILLMER, LANE & NEWMAN, LLP

                                               s/ Andy McNulty
                                               ___________________________
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                          CERTIFICATE OF SERVICE

        I hereby certify that on July 10, 2023, I electronically filed the foregoing with
the Clerk of the Court using the CM/ECF system, which will send notification of such
filing to the following:

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Counsel for Defendants/Appellees

                                         KILLMER, LANE & NEWMAN, LLP

                                         s/ Andy McNulty
                                         ________________________
                                         Andy McNulty
